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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  OXFORD DIVISION


ARON HAWKINS, JR.                                                                     PETITIONER

V.                                                       CAUSE NO. 3:22-CV-00084-NBB-JMV

STATE WARD RICE                                                                     RESPONDENT

                                 ORDER SEALING DOCUMENTS

        As the instant petition for a writ of habeas corpus and supporting documents reveal the name

of a minor child and victim of sexual assault, the Clerk of the Court is DIRECTED to restrict access

to these documents to parties only.

        SO ORDERED, this the 24th day of May, 2022.

                                              /s/ Jane M. Virden
                                              JANE M. VIRDEN
                                              UNITED STATES MAGISTRATE JUDGE
